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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS




IN RE PHARMACEUTICAL INDUSTRY                           MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION                                              CIVIL ACTION: 01-CV-12257-PBS

                                                        Judge Patti B. Saris


THIS DOCUMENT RELATES TO:

State of Montana v. Abbott Labs., Inc., et al.,
D. Mont. Cause No. CV-02-09-H-DWM




                                       [PROPOSED] ORDER

           THIS MATTER is before the Court on Plaintiff State of Montana’s Motion to File Its

Joinder in Class Plaintiffs’ (1) Motion to Compel B. Braun of America and (2) Supplement to

Their Opposition to B. Braun’s Motion to Dismiss. The Court, having considered all pleadings

in support and in opposition thereto, and being fully advised in the premises, hereby

           GRANTS Plaintiff State of Montana’s motion to file Joinder in Class Plaintiffs’ (1)

Motion to Compel B. Braun of America and (2) Supplement to Their Opposition to B. Braun’s

Motion to Dismiss. State of Montana’s Joinder is deemed filed.

           IT IS SO ORDERED.



           DATED: _____________________                _________________________________
                                                             Hon. Patti B. Saris
                                                             United States District Court Judge




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                                 CERTIFICATE OF SERVICE

             I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy
     of the foregoing [PROPOSED] ORDER to be served on all counsel of record electronically
     on September 21, 2004, pursuant to Section D of Case Management Order No. 2.

                                              By         /s/ Steve W. Berman
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